Case 2:06-cr-02013-RHW   ECF No. 81   filed 08/11/06   PageID.192 Page 1 of 6
Case 2:06-cr-02013-RHW   ECF No. 81   filed 08/11/06   PageID.193 Page 2 of 6
Case 2:06-cr-02013-RHW   ECF No. 81   filed 08/11/06   PageID.194 Page 3 of 6
Case 2:06-cr-02013-RHW   ECF No. 81   filed 08/11/06   PageID.195 Page 4 of 6
Case 2:06-cr-02013-RHW   ECF No. 81   filed 08/11/06   PageID.196 Page 5 of 6
Case 2:06-cr-02013-RHW   ECF No. 81   filed 08/11/06   PageID.197 Page 6 of 6
